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AO 91 (Rev. 11/11) Criminal Complaint

 

 

 

UNITED STATES DISTRICT COURT sou fut of ts
for the ILE
Southern District of Texas JUN | 4 2016
United States of America ) David J, Bradley, Clerk of Court
Vv. ) —
Teddy Bear Paradise, a.k.a. Denise O'Neal Soret Case No.
2 H16-911 M
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of July 10, 2015 in the county of Harris in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
Title 18 USC Section 115 (a)(1)(B) Influence, impede, or retaliate against a Federal official by threat.
Title 18 USC Section 876 (c) Mailing threatening communications.

This criminal complaint is based on these facts:

See attached affidavit.

@ Continued on the attached sheet. Lk. V2
. . '
jo fo K Complainant’s signature V

SS Christopher Petrowski, Special Agent FBI
: Lo Printed name and title

Sworn to before me and signed in my presence.

Date: -4_l¢ K\

r y ,
. dees signature

City and state: Houston, Texas United States M

Printed name a

 

 
    

title

 

 
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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Christopher Petrowski, being duly sworn, do hereby depose and state:

. [ama Special Agent of the Federal Bureau of Investigation (FBI), duly appointed
according to law and acting as such. J have been a Special Agent with the FBI for twenty
(20) years, and I am currently assigned to the FBI, Houston Division’s Violent Crime
Task Force (VCTF). The VCTF is a joint FBI and Houston Police Department Task
Force responsible for the investigation of among other violent crimes, kidnapping, bank
robbery, extortion, serial murder, and Unlawful Flight to Avoid Prosecution.

. Since this Affidavit is made for the purpose of supporting a Criminal Complaint, f have
not set forth each and every fact learned during the course of this investigation. Rather, I
have set forth only those facts that I believe are necessary to establish probable cause for
the crimes charged. Unless otherwise indicated, where actions, conversations, and
statements of others are related herein, they are related in substance and in part only.

. Based on the facts set forth in this affidavit, there is probable cause to believe that
violations of Title 18, United States Code, Section 115(a)(1)(B), which criminalizes
among other things, threatening to murder a United States Official or a Federal Law
Enforcement Officer with the intent to impede, intimidate, or interfere with such official
or law enforcement officer while engaged in the performance of official duties; and Title
18 United States Code, Section 876(c), which criminalizes among other things,
knowingly so deposits or causes to be delivered, any communication with or without
name or designating mark subscribed thereto, addressed to any other person and

containing any threat to kidnap any person or any threat to injure the person of the

 

 

 
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addressee or of another have been committed by Teddy Bear Paradise, also known as
Denise O’Neal Soret.
. Your Affiant has knowledge, specifically through a database search of Bureau of Prisons
inmate locator that Teddy Bear Paradise is currently housed at Federal Medical Center
Carswell located at Naval Air Station Joint Reserve Base, Forth Worth, Texas 76127.
PROBABLE CAUSE
. On November 18, 2014, Teddy Bear Paradise, also known as Denise O’Neal was
sentenced by District Court Judge Gray H. Miller to 21 months custody followed by 3
years supervised release for the crime of threatening the President of the United States of
America in violation of Title 18 United States Code 871.
. On July 2, 2015, at approximately 8:31 am, Paradise was released from Federal Medical
Center Carswell and transported by inmate Town Driver to the Fort Worth Bus terminal
and instructed to board a Greyhound Bus bound for Houston, Texas. Paradise was
further instructed by her Bureau of Prisons Case Manager to report to the US Probation
Office located in Houston, Texas within 72 hours.
. On July 10, 2015, Sean Harmon was employed by United States Probation as the Acting
Chief Probation Officer for the Houston Office. Harmon has been employed by US
Probation since 2012. Prior to Harmon’s employment with US Probation, Harmon had
been employed by US District Court Pre-Trial Services since 1998. On July 10, 2015,
Reginald Hollins was employed by United States Probation as a Senior Probation Officer.
Hollins has been employed by US Probation since 2005.
. On July 10, 2015, Harmon and Hollins received a single stamped envelope through the

United States Postal Service addressed to “Sean Harmon — Chief/Reginald Hollins/U:S.

 
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Probation Office/515 Rusk St. Room 2301/Houston, Texas 77002”. Contained within the
envelope was a letter handwritten and signed with the name “Teddy B. Paradise
Reg.#10088-111”. Reg.#10088-111 was verified through the Bureau of Prisons as being
assigned to Federal inmate Teddy Bear Paradise, a.k.a. Denise O’Neal Soret. Among
other statements expressed in the body of the handwritten letter was the sentence, “J am
going to murder you + Reginald.” The date and location written on the header of the
letter was, “July 4, 2015/Santa Cruz, California”. The postmark date on the envelope
was, “06 JUL 2015”.

On July 13, 2015, U.S. District Court Judge Gray H. Miller issued a Federal Arrest
Warrant for “Teddy Bear Paradise, a.k.a. Denise O’Neal” for “Supervised Release
Violation” based upon her failure to report to the probation office within 72 hours of her
release. Paradise was subsequently arrested and transported to Houston, Texas where her
supervised release was revoked. Paradise has since been confined at FMC Carswell in
Fort Worth, Texas.

On July 14, 2015, the envelope and letter were submitted to the FBI Laboratory Division
for analysis. The evidence was examined by the Trace Evidence Unit, the Latent Print
Operations Unit, the Questioned Documents Unit and the DNA Casework Unit.

On July 22, 2015, Harmon and Hollins received a single stamped envelope through the
United States Postal Service addressed to “Sean Harmon/Reginald Hollins/U.S. Probation
Office/515 Rusk St./Houston, Texas”. Contained within the envelope was a letter
handwritten and signed with the name “Teddy B. Paradise Reg.#10088-111”. Among
other statements expressed in the body of the letter was a reference to murdering Harmon

and Hollins.

 

 
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On July 31, 2015, the envelope and letter received by Hollins and Harmon on July 22,
2015 were submitted to the FBI Laboratory Division for analysis. The evidence was
examined by the Trace Evidence Unit, the Latent Print Operations Unit, the Questioned
Documents Unit and the DNA Casework Unit.

On or about September 2, 2015, known writings of Paradise were forwarded to the
Questioned Documents Unit for handwriting comparison with the aforementioned
questioned documents. The known writings of Paradise were taken from her previous
conviction for threatening the President of the United States of America. In that case,
Paradise pleaded guilty to writing the letter which was signed, “Teddy B. Paradise”.
On December 16, 2015, Examiner Gabriel Watts of the Questioned Document Unit
concluded based upon the known writings of Paradise, that Paradise is also the writer of
both letters and envelopes received by Harmon and Hollins.

On January 20, 2016, Examiner Brandie Christian of the DNA Casework Unit
determined female DNA is present on the envelope received by Harmon and Hollis on
July 22, 2015. The DNA is consistent with originating from a single individual and is
suitable for comparison purposes. On January 20, 2016, Examiner Brandi Christian of
the DNA Casework Unit concluded from a routine search of FBI CODIS database
indicated a possible DNA association with the envelope and a convicted offender
submitted by the Federal DNA Database Unit of the FBI Laboratory. The offender is

identified as follows:

Name: DENISE ONEAL SORET
Alias: Teddy Bear Paradise

SSN: 239-

DOB: December {1957

FBI#: 471651MA8

BOP#: 10088-111

 

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PACTS#: 011045
Last Known Location: Federal Medical Center Carswell, Fort Worth, Texas

Consequently, a sample of saliva of Teddy Bear Paradise, also known as Denise O’Neal
Soret was needed in order to conduct a DNA comparison.

On March 14, 2016, Examiner Dee Jay Fife of the Latent Print Operations Unit identified
two latent prints on envelope received on July 10, 2015 and one latent print on the
envelope received on July 22, 2015, as prints of Teddy Bear Paradise, also known as
Denise O’Neal Soret.

On April 12, 2016, Special Agent Edmond Grant of the Federal Bureau of Investigation
executed a Federal Search Warrant issued by U.S. Magistrate Judge Jeffrey L. Cureton on
April 6, 2016 in the Northern District of Texas. Grant collected DNA from Denise
O’Neal Soret, also known as Teddy Bear Paradise, date of birth December 25, 1957. The
DNA was then sent to the DNA casework Unit at the FBI Laboratory.

On May 11, 2016, Examiner Brandie Christian of the DNA Casework Unit concluded,
after examination, that “to a reasonable degree of certainty, Paradise is the source of
DNA obtained from item 3”, which is defined as the swabbings of the adhesive regions

on the envelope and flap on the letter received on July 22, 2015.

CONCLUSION

Based on the foregoing, probable cause exists to believe that Teddy Bear Paradise did
knowingly, threaten to murder a United States Official or a Federal Law Enforcement
Officer with the intent to impede, intimidate, or interfere with such official or law
enforcement officer while engaged in the performance of official duties; transmit in

interstate commerce a communication containing a threat to kidnap a person or a threat to

 

 
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injure the person of another; knowingly so deposited or caused to be delivered, a

communication with or without name or designating mark subscribed thereto, addressed

to any other person and containing any threat to kidnap a person or a threat to injure the

person of the addressee or of another, all in violation of Title 18 United States Codes

115(a)(1)(B) and 876(c).

In light of the above information regarding the nature of the acts that occurred via the

United States Postal Service, probable cause exists to believe that Denise O’Neal Soret,

also known as Teddy Bear Paradise crafted the letter containing the threat towards

Harmon and Hollins.

Based on the forgoing information and facts, I believe there is probable cause to believe

Denise O’Neal Soret, also known as Teddy Bear Paradise

- did knowingly threaten to assault, kidnap, or murder, a United States official, a
Federal law enforcement officer, or an official whose killing would be a crime under
such section with intent to impede, intimidate, or interfere with such official or law
enforcement officer while engaged in the performance of official duties, or with
intent to retaliate against such official or law enforcement officer on account of the
performance of official duties in violation of Title 18 United States Code Section
115(a)(1)(B); and

- did knowingly deposit in a post office or authorized depository for mail matter, to be
sent or delivered by the Postal Service or knowingly caused to be delivered by the
Postal Service according to the directions thereon, any communication with or

without a name or designating mark subscribed thereto, addressed to any other person

 

 

 
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and containing any threat to kidnap any person or any threat to injure the person of

the addressee or of another in violation of Title 18 United States Code Section 876(c).

Mahe

ek Petrowski
Special Agent
Federal Bureau of Investigation

Subscribed and sworn to before me this YC Vay of June, 2016.

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